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                                                                                                     Exhibit A
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                           CASES TO BE TRANSFERRED
                    FROM THE DOCKET OF JUDGE JANE J. BOYLE
                         TO JUDGE KAREN GREN SCHOLER
1      3:15-CV-0758-B   Thompson, et al v. International Paper Company
2      3:15-CV-1186-B   Owens v. STMicroelectronics Inc
3      3:15-CV-2183-B   Insurance Safety Consultants LLC et al v. Nugent
4      3:15-CV-3454-B   EuroTec Vertical Flight Solutions LLC v. Safran Helicopter Engines, et al
5      3:15-CV-3792-B   Express Working Capital LLC v. One World Cuisine Group LLC, et al
6      3:16-CV-0441-B   Jamison v. Fluor Corporation et al
7      3:16-CV-0448-B   White et al. v. Southwestern Correctional LLC et al
8      3:16-CV-1147-B   Navarro v. American Matar International et al
9      3:16-CV-1621-B   RE Closing LLC et al v. Bronson Masonry LLC et al
10     3:16-CV-1919-B   Porter v. City of Dallas
11     3:16-CV-2043-B   Old Republic General Insurance Corp et al v. Martin Marietta Materials Inc
12     3:16-CV-2358-B   Laning et al v. National Recall & Data Services Inc et al
13     3:16-CV-2499-B   Santander Consumer USA Inc v. Maywood Motors Inc
14     3:16-CV-2579-B   Adelman v. Dallas Area Rapid Transit et al
15     3:16-CV-2814-B   United States of America v. 0.2853 Acres of Land et al
16     3:16-CV-3006-B   Ramirez v. Allstate Vehicle and Property Insurance Company
17     3:16-CV-3310-B   Santander Consumer USA Inc v. Zeigler Chrysler
18     3:16-CV-3485-B   Lindsey v. United Parcel Service Inc
19     3:17-CV-0019-B   Stewart v. AutoRevo LTD et al
20     3:17-CV-0336-B   Fracalossi v. MoneyGram Pension Plan et al
21     3:17-CV-0663-B   Johnson v. BOKF National Association
22     3:17-CV-0691-B   Ranieri et al v. Advocare International LP et al
23     3:17-CV-0747-B   Martin v. United States of America
24     3:17-CV-0832-B   Pamphile v. Allstate Texas Lloyds
25     3:17-CV-0854-B   XYZ Media Inc v. Mark Maris et al
26     3:17-CV-1605-B   Sharp Mexican Partners LP et al v. Republic Waste Services of Texas Ltd.
27     3:17-CV-1701-B   Nguyen et al v. Versacom LLC et al
28     3:17-CV-1705-B   Madison v. Courtney et al
29     3:17-CV-1712-B   Federated National Insurance Company Inc v. Loredo
30     3:17-CV-1735-B   Arch Insurance Company et al v. Tender Choice Foods Inc., et al
31     3:17-CV-1758-B   Upshaw v. Erath County
32     3:17-CV-1762-B   Fowler v. Coates et al
33     3:17-CV-1836-B   Berkley Ins. Co. v. Next Health LLC
34     3:17-CV-2051-B   Fifty50 Medical LLC v. H&H Wholesale Services Inc.
35     3:17-CV-2067-B   City National Rochdale Fixed Income Opportunities v. American General Life
36     3:17-CV-2124-B   Williams v. City of Frisco, Texas
37     3:17-CV-2278-B   Carter v. Transport Workers Union of America Local 556
38     3:17-CV-2575-B   Potts v. Walgreen Co.
39     3:17-CV-2658-B   Communications Tower Group LLC v. City of McLendon-Chisholm et al
40     3:17-CV-2690-B   Deiry v. Synchrony Bank
41     3:17-CV-2766-B   Thurnau v. Mountain Valley Country Club, Inc. et al
42     3:17-CV-2821-B   Ahmed et al v. Bank of New York Mellon
43     3:17-CV-2857-B   Hayward & Associates PLLC v. Comerica Bank
44     3:17-CV-2971-B   Montage Mortgage LLC v. Pacific Union Financial LLC et al
45     3:17-CV-3320-B   Anderson v. Nationstar Mortgage, LLC




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                           CASES TO BE TRANSFERRED
                      FROM THE DOCKET OF JUDGE A. JOE FISH
                         TO JUDGE KAREN GREN SCHOLER
46     3:15-CV-0793-G   Clyce, et al. v. Butler, et al.
47     3:16-CV-2410-G   I Love Omni, LLC, et al. v. Omnitrition
48     3:16-CV-3148-G   Dennis v. United States
49     3:16-CV-3206-G   Yuri (URI) Kasparov v. Ambit Texas, LLC
50     3:16-CV-3255-G   CSI Litigation v. DecisionQuest
51     3:17-CV-0553-G   Bed-Village Oaks v. Seneca Specialty Ins. Co.
52     3:17-CV-0771-G   Mooney v. Paychex, Inc.
53     3:17-CV-0991-G   IBEW-NECA v. Mathieu Electric Company
54     3:17-CV-1289-G   Frigate Enterprises v. Trinity Land & Minerals
55     3:17-CV-1510-G   Beer v. Zurich American Insurance co.
56     3:17-CV-1609-G   Savithri v. Xilinx, Inc.
57     3:17-CV-1769-G   ECAP Holdings v. Quixotic Farming, LLC
58     3:17-CV-1905-G   Lane v. Quality Companies, LLC
59     3:17-CV-1931-G   Bennett v. James River Insurance Co.
60     3:17-CV-1936-G   Trinity Industries Leasing Co. v. Hexion, Inc.
61     3:17-CV-2034-G   Myles v. BT Garland JV LLP
62     3:17-CV-2284-G   Leach v. Leon-Ramirez, et al.
63     3:17-CV-2386-G   Lanier v. UPS Ground Freight
64     3:17-CV-2461-G   Britton v. Apple, Inc.
65     3:17-CV-2471-G   McColl v. HG Dallas Consulting, LLC
66     3:17-CV-2522-G   Kemp v. Caliber Home Loans, Inc.
67     3:17-CV-2647-G   James, et al. v. Real Source Management, LLC
68     3:17-CV-2730-G   Cannady v. Hewlett Packard Co.
69     3:17-CV-2830-G   Lafler v. Aspermont Small Business Dev. Center
70     3:17-CV-3086-G   Winn v. Certified Payment Processing
71     3:17-CV-3138-G   West v. Custom Air Services
72     3:18-CV-0082-G   Pace IV, LLC v. Depositors Insurance Co.
                          CASES TO BE TRANSFERRED
                   FROM THE DOCKET OF JUDGE DAVID C. GODBEY
                        TO JUDGE KAREN GREN SCHOLER
73     3:16-CV-1640-N   Lewis v. Methodist
74     3:16-CV-1832-N   Davis v. Davis
75     3:16-CV-2382-N   Tilley v. Union Pacific
76     3:16-CV-2448-N   BRG v. O'Connell
77     3:16-CV-2538-N   Engle v. Davis
78     3:16-CV-2970-N   Riley v. CitiMortgage
79     3:16-CV-3109-N   Zamarripa v. Farrakhan
80     3:17-CV-0003-N   Brantley v. Davis
81     3:17-CV-0067-N   Kipp v. Laubach
82     3:17-CV-0366-N   Ferguson v. Nova Academy
83     3:17-CV-0769-N   Kirk v. Rescare
84     3:17-CV-0976-N   Morvant v. Dallas Airmotive
85     3:17-CV-1093-N   Hunter v. Pitre
86     3:17-CV-1258-N   Long v. Wehner
87     3:17-CV-1264-N   Andre v. Hartford
88     3:17-CV-1513-N   Moore v. Kia
89     3:17-CV-1575-N   Duse v. Mastec
90     3:17-CV-1632-N   Loughran v. Kia

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91      3:17-CV-1749-N   Lennox v. Marriott
92      3:17-CV-1895-N   Maker v. Perry
93      3:17-CV-2001-N   Siddhantam v. Sessions
94      3:17-CV-2090-N   Next Generation v. Quicklabs
95      3:17-CV-2155-N   Yiru v. Woldventures
96      3:17-CV-2177-N   Miller v. US
97      3:17-CV-2250-N   Delarosa v. Berryhill
98      3:17-CV-2317-N   Quinones v. Wal-Mart
99      3:17-CV-2590-N   Long v. Allstate
100     3:17-CV-2619-N   Callahan v. Jessup
101     3:17-CV-2675-N   Bennett v. Auxilius
102     3:17-CV-2683-N   Handy v. Capital One
103     3:17-CV-2800-N   Union Pacific v. Swehla
104     3:17-CV-2935-N   Chandler v. US
105     3:17-CV-3035-N   May v. American Southern
106     3:17-CV-3059-N   CPM v. Capsugel
107     3:17-CV-3161-N   Cooper v. Nationstar
108     3:17-CV-3222-N   Burks v. 24 Hours Fitness
109     3:17-CV-3239-N   Curtis Kindred v. Thornberry
110     3:17-CV-3353-N   Carson v. Ocwen
111     3:17-CV-3468-N   Barron v. Hossain
112     3:18-CV-0042-N   Moore v. Hernandez
113     3:18-CV-0133-N   Thurston v. Local 20
114     3:18-CV-0166-N   Winn v. Davis
115     3:18-CV-0295-N   Morga v. Life Ins. Co.
116     3:18-CV-0347-N   Villatoro v. JB Hunt

                           CASES TO BE TRANSFERRED
                  FROM THE DOCKET OF JUDGE SIDNEY A. FITZWATER
                         TO JUDGE KAREN GREN SCHOLER
117     3:15-CV-1700-D   Simmons v. Jackson
118     3:15-CV-3415-D   Town of Davie v. Pier 1
119     3:15-CV-3481-D   Mercado v. Dallas County
120     3:16-CV-1093-D   Sanders v. Latshaw Drilling Co.
121     3:16-CV-1260-D   K.C. South RR v. Lone Star
122     3:16-CV-1399-D   Vandling v. XRC LLC
123     3:16-CV-1442-D   Jones v. Bragg
124     3:16-CV-1471-D   Alvarez v. Cmty. Educ. Ctrs.
125     3:16-CV-2311-D   Ginsburg v. ICC
126     3:16-CV-2398-D   Springboards to Education v. Demco
127     3:16-CV-2468-D   Cruz v. Weber-Stephen Prods.
128     3:16-CV-2537-D   Liccardi v. Delta Personnel
129     3:16-CV-2649-D   Synergy Strategic v. Totus
130     3:16-CV-2916-D   RS v. Highland Park ISD
131     3:16-CV-2940-D   Afriyie v. City of Dallas
132     3:16-CV-3021-D   Architettura v. DSGN
133     3:16-CV-3197-D   Arceo et al v. Omni Hotels Management Corporation
134     3:16-CV-3248-D   U.S.A. ex rel. v. Career Opportunities
135     3:16-CV-3317-D   Henderson v. Dallas
136     3:16-CV-3470-D   Arthritis Treatment of Texas v. Price
137     3:17-CV-0035-D   Herrera v. All State
138     3:17-CV-0332-D   Jefferies v. WTW
139     3:17-CV-0637-D   Shipman v. Baylor
140     3:17-CV-1147-D   Basic Capital v. Dynex Capital
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141     3:17-CV-1125-D   LeHigh Southwest v. Liberty Mut.
142     3:17-CV-1250-D   Rashti v. Bank of Am.
143     3:17-CV-1424-D   Dawes v. City of Dallas
144     3:17-CV-1487-D   JC v. Quinlan ISD
145     3:17-CV-1583-D   ADT v. Comm'cns Workers
146     3:17-CV-1618-D   Santander v. Tate's
147     3:17-CV-1619-D   Santander v. Tate's
148     3:17-CV-1660-D   Santander v. Tate's
149     3:17-CV-1717-D   Santander v. Tate's
150     3:17-CV-1835-D   Mathis v. Stevens
151     3:17-CV-2021-D   Hutcheson v. Dallas
152     3:17-CV-2022-D   RehabCare v. DTD
153     3:17-CV-2099-D   Schoppe et al v. Specialized Loan Servicing
154     3:17-CV-2156-D   Hogan v. Monster
155     3:17-CV-2300-D   Trendsetter HR v. Zurich
156     3:17-CV-2399-D   ECL Grp. v. Mass
157     3:17-CV-2465-D   Canada v. U.S. IRS
158     3:17-CV-2904-D   Caploc v. Am. Sw.
159     3:17-CV-2981-D   Randolph v. Dallas Independent School District
160     3:17-CV-3027-D   Arnone v. Syed
161     3:17-CV-3270-D   Advanced Tech. Grp. Inc v. Sperlonga Data & Analytics Sys.
162     3:17-CV-3376-D   JetPay Corporation v. United States of America
163     3:18-CV-0070-D   Hunt v. Kroger Texas

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               FROM THE DOCKET OF CHIEF JUDGE BARBARA M.G. LYNN
                        TO JUDGE KAREN GREN SCHOLER
164     3:15-CV-3509-M   Ryerson v. Colvin
165     3:16-CV-0292-M   USA ex rel. Hendrickson v. Bank of America, NA
166     3:16-CV-0793-M   Robbins v. XTO Energy Inc.
167     3:16-CV-0956-M   McKinney Square Properties No 1 Ltd. v. Seneca Insurance Company Inc.
168     3:16-CV-1835-M   Edmonds v. USA
169     3:16-CV-1975-M   SEALED CASE
170     3:16-CV-2364-M   AdvancePierre Foods Inc. Group Health Plan v. Jones
171     3:16-CV-2657-M   Frazier v. Dallas/Fort Worth International Airport Board
172     3:16-CV-2879-M   Cunningham v. TechStorm LLC
173     3:16-CV-3051-M   Gustafson v. Dallas Behavioral Healthcare Hospital LLC et al
174     3:16-CV-3334-M   Clarke, et al v. Texmasters Express Medical Couriers
175     3:16-CV-3349-M   Sun Life Assurance Co. of Canada v. Hieb and Daniels
176     3:16-CV-3389-M   Full Circle Integration LLC v. Lockheed Martin Corporation
177     3:17-CV-0243-M   United Healthcare Services Inc. v. Next Health LLC
178     3:17-CV-0337-M   Cunningham v. Nationwide Security Solutions, Inc.
179     3:17-CV-0472-M   Arrington v. Jackson National Life Insurance Co.
180     3:17-CV-0906-M   Conway v. Allstate Vehicle and Property Insurance Company
181     3:17-CV-1050-M   Davis v. Anthem Blue Cross Blue Shield
182     3:17-CV-1282-M   Rivers v. Capital One Financial
183     3:17-CV-1301-M   Briones v. Braum's Inc.
184     3:17-CV-1375-M   Batayeh v. Santander Consumer USA Inc.
185     3:17-CV-1404-M   McCord v. State Farm Lloyds
186     3:17-CV-1436-M   Moore et al v. Payson Petroleum Grayson LLC et al
187     3:17-CV-2087-M   Nguyen v. Dinh
188     3:17-CV-2105-M   One Hit Wonder Inc. v. AOP Ventures Inc.
189     3:17-CV-2311-M   Philadelphia Indemnity Ins Co. v. Home Depot USA, Inc.
190     3:17-CV-2355-M   Shive v. Merriam Investments LLC
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191     3:17-CV-2401-M      Texas Field Investment, Inc. v. Koster
192     3:17-CV-2432-M      Lampkin v. Safeco Insurance Co. of Indiana
193     3:17-CV-2692-M      Joiner v. USA
194     3:17-CV-2693-M      Gomez et al v. ASI Lloyds
195     3:17-CV-2769-M      Kemper Corporate Services, Inc. v. Computer Sciences Corporation
196     3:17-CV-3067-M      NavWorx, Inc. v. Aspen Avionics, LLC
197     3:17-CV-3125-M      Hudgins v. Ameriprise
198     3:17-CV-3136-M      Baggett v. Oncor Electric Delivery Company LLC
199     3:17-CV-3183-M      Christensen v. Gaines Investment Trust
200     3:17-CV-3475-M      Hansen v. Signature Healthcare Services LLC
201     3:18-CV-0132-M      Warren v. Signature Healthcare Services LLC
                               CASES TO BE TRANSFERRED
                         FROM THE DOCKET OF JUDGE SAM A. LINDSAY
                             TO JUDGE KAREN GREN SCHOLER
202     3:16-CV-0549-L      McClaskey et al. v. Match Group, Inc., et al.
203     3:16-CV-0803-L      USA et al. v. Legacy Heart Care LLC, et al.
204     3:16-CV-0954-L      Cardona v. Cooper Aerobics Enterprises Inc. et al.
205     3:16-CV-1769-L      Slim v. Abuzaid
206     3:16-CV-2413-L      Liebbe v. Dallas Independent School District
207     3:16-CV-2795-L      Seastrunk v. Entegris Inc.
208     3:16-CV-3039-L      SEALED CASE
209     3:16-CV-3162-L      Owens v. Dallas County Community College District
210     3:17-CV-0109-L      Newby, et al. v. Bearup, et al.
211     3:17-CV-0267-L      Fairview Hospitality LLC v. State Bank of Texas, et al.
212     3:17-CV-0496-L      Cramer v. Allstate Lloyds
213     3:17-CV-0675-L      Stancu v. Hyatt Corporation/Hyatt Regency Dallas
214     3:17-CV-0676-L      Bewley, et al. v. Accel Logistics Inc.
215     3:17-CV-0716-L      Adams v. Rushing, et al.
216     3:17-CV-0757-L      Allcapcorp Ltd v. CHC Consulting LLC
217     3:17-CV-0883-L      Reyes v. TopGolf International Inc., et al.
218     3:17-CV-1345-L      Berghorn v. Xerox Corporation
219     3:17-CV-1415-L      SEALED CASE
220     3:17-CV-1494-L      Vazquez v. Mcguyer Homebuilders Inc., et al.
221     3:17-CV-1922-L      O'Donnell v. Zavala Diaz, et al.
222     3:17-CV-1960-L      American Security Insurance Company v. Greene
223     3:17-CV-2057-L      Hernandez v. Arc Trading Company, et al.
224     3:17-CV-2062-L      TSI Products Inc. v. The Armor All/STP Products Company
225     3:17-CV-2366-L      Ball v. Life Insurance Company of North America
226     3:17-CV-2526-L      Petty v. Great West Casualty Company, et al.
227     3:17-CV-2582-L      Haltom v. Metro. Lloyds Insurance Company of Texas, et al.
228     3:17-CV-2750-L      Rambo v. Uplift Education
229     3:17-CV-2877-L      Grant v. Service First Distribution Company, LLP
230     3:17-CV-2888-L      Akers v. Kia Motors America, Inc.
231     3:17-CV-2982-L      Matonis v. Aetna Health Inc.
232     3:17-CV-3022-L      Toyota Motor Credit Corporation, et al. v. Brinkley
233     3:17-CV-3040-L      Jennings v. Towers Watson, et al.
234     3:17-CV-3190-L      SEALED CASE
235     3:17-CV-3219-L      BBX Operating LLC v. Bank of America NA
236     3:17-CV-3255-L      Blanks v. Crimstone AAA Operating Company LLP, et al.
237     3:17-CV-3303-L      Warren v. Rochelle
238     3:18-CV-0008-L      Mercury Operating LLC, et al. v. Seidel
239     3:18-CV-0037-L      Butler v. Collins, et al.



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